Case 3:18-cr-00097-RDM Document 64-2 Filed 06/15/20 Page 1 of 3
SS? U.S. Customs and Border Protection
\a Is) U.S. Department of Homeland Security
Nae TECS - Secondary Inspection Report
02/27/2017 10:39 EST Generated By: BURKE, JEFFREY Page 1 of 3
Referred § Referred Date Referred Time d From
AUGUSTINE, FELNEY 02/26/2017 19:28 EST Primary Airport |
| Referral Reason
| LOOKOUT HIT.

PAX CTR ONE DAY

ROGGIO ROSS emeeises
Carrier Code Flight / Vessel Numb

TK - TURKISH AIRLINES 1
Hispanic Gender Race | Travel t Presented Lost / Stolen Document

No M — Male U_- UNKNOWN | Yes No
Doc Number Doc Type Issuing Country
| eet P - PASSPORT | USA - UNITED STATES
State/Province : tionality City of Birth Country of Birth
USA - UNITED STATES WASHINGTON USA - UNITED STATES

Father's Last Name Father's First Name | Father's Middle Name
Mother's Last Name Mother's First Name Mother's Middle Name

Secondary Officer Name_ Site Id
MORALES, AURELIA A477
Inspection Start Date and Time Inspection End Date and Time
02/26/2017 21:49 EST 02/26/2017 21:52 EST
Flight / Vessel Crew : Inbound / Outbound
No I - INBOUND

Departure / Destination

IST - ATATURK

Embarkation

Yes

EBL - ERBIL INTERNATIONAL AIRPORT, KURDISTAN, IRAQ
No, of Passengers on Declaration Bag Exam | Number of Bags X-Rayed
2) Yes
Search Positive / Negative Inspecti |ccp used X-Ray/Nil Utilized for this Insp
No N - Negative | No No
Category é
Violation Codes
Document | Create Incident Log Incident Log Report Number
No
SAS IOEM Required IOEM Number
No |
g Officer Code for | Code
___ TTR - TACTICAL TERRORISM RESPONSE TEAM AUG - AUGMENTED PRIMARY REFERRAL |
age | on Complete Create PLOR : |
——————— No |

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SEP U.S. Customs and Border Protection

ey U.S. Department of Homeland Security

Sotr se” TECS - Secondary Inspection Report

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[Comments History }

|Entered By: MORALES, AURELIA| Created Date/Time: 02/26/2017 21:52 EST

|ITRT JFK

On February 26, 2017, subject ROGGIO, Ross William, with date of birth a SSS ,
arrived at Terminal 1, John F. Kennedy International Airport onboard Turkish Airlines,
flight TK 1, from Erbil, Iraq, via Istanbul, Turkey. Subject was referred to secondary as
CTR lookout. Subject was in possession of temporary United States passport }
and Pennsylvania driver license # @§@MMMMMMMB and copy of stolen United States passport #

| Subject stated he traveled with his girlfriend, Christina Sidiropoulou, with
phone # 5709778104. Subject stated they have been together for nine months and she works
for the subject, as personal assistant. Subject stated he was traveling from Irag, where
he worked for the past three years. Subject stated he resided at address: Parkidaike Apt.
701, Sulaymaniyah, Iraq. Subject stated he traveled back and forth and his last outbound
trip to Iraq was at the end of November 2016.

Subject stated he owns "ROGGIO Consulting Company", Construction Company. Subject stated
his company was overseeing the construction of three high rise residential buildings in
Sulaymaniyah, Irag, in collaboration with "Zarya Construction Company". Subject stated he
was working as consultant for the project and advised on building construction from the
foundation to the metal structure development and everything in between. Subject stated
lhe had around 40 employees, from all over the world, working for him. Subject stated
Zarya paid him nine million dollars for the project. Subject stated after Thanksgiving
2016, he returned to Iraq to continue his project there. Subject stated he was planning
on traveling back to the United States right before Christmas 2016. Subject stated he
|purchased his ticket and proceeded to Sulaymaniyah Airport in December 2016. Subject
stated while at the airport he was approached by a security guard who ordered him to go
with him. Subject stated while walking with the security guard he was approached by
another man who threw a scarf over his head and told him he was going to be kidnapped.
Subject stated he was taken to an unknown location and was held until February 24, 2017.
Subject stated the kidnappers took his passport. Subject stated he was scared and he
thought he was going to die. Subject stated he requested the reason why he was treated
like that. Subject stated he was informed that Kadir Haman, representing Zarya Company
was holding him against his will because Kadir considered that Zarya overpaid for the
construction project and they wanted their money back. Subject stated Zarya claimed they
paid him twelve million dollars instead of nine so they requested back the money. Subject
stated he was forced to transfer money from his account into the kidnappers account
little by little. Subject stated he transferred back up to two hundred thousand dollars
into the kidnapper's account. Subject stated he was able to escape by jumping through a
window at two o'clock in the morning. Subject stated he was helped by his friend, Hiwy
(no contact information was provided for him), who he paid $ 250 to drive him to the
‘American embassy. Subject stated no one knew of his kidnapping. Subject stated he had a
protocol with his ex-wife, Christi Roggio, who resides in the United States, that he was
supposed to call her every day. Subject stated he instructed Christi if she doesn't hear
jfrom him in more than three days, she was to alert the authorities about him possibly
being kidnapped or missing. Subject stated his ex-wife alerted the authorities about his
absence. Subject stated he will never travel to Iraq again.

Subject stated he resides at address: 143 Indian Spring Dr., Stroudsburg, PA 18360.
Subject stated his phone # 5709778102 (US) and # 9647726159495 (Iraq) and email:
ross@roggiocc.com and Skype: rossroggio. Subject stated his business address in the
United States is: 116 Turkey Hill Court, Stroudsburg, PA, and in Iraq: Roggio Consulting
Company, Baharan Residential Complex, Building 13, Floor 2, Office 10, Sulaimaniyah,
Kurdistan region of Iraq. Subject stated he will go visit his father, who is currently
admitted into Pocono Hospital with gallbladder issues, before he goes back home.
|Subject's bags were searched with negative results. Subject was in possession of two
Iphones-6, a laptop, a tablet, a memory card and a memory stick, all detained by Special
|Agent HSI Mundy, for further examination. Subject was given receipt for all detained
|items. FBI Special Agent Vetrano was also present during media detention process and
informed subject on future imminent interview. Subject was instructed on border search
authority and how to retrieve his electronic devices. Subject was cooperative and
released at 2040 hours without incident.

Referral Reason History

Referred By:AUGUSTINE, FELNEY | Referred Date/Time:02/26/2017 19:28 EST|ReferredFrom:Primary Airport
|PAX CTR ONE DAY LOOKOUT HIT.

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